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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )             Case No. CR-18-227-SLP
                                         )
JOSEPH MALDONADO-PASSAGE,                )
                                         )
                    Defendant.           )


                                 NOTICE OF APPEAL

      Notice is hereby given that Joseph Maldonado-Passage, defendant in the above named

case, hereby appeals to the United States Court of Appeals for the Tenth Circuit from the

final judgment entered in this action on January 23, 2020 (Doc. 134).

                                  Respectfully submitted,


                                  s/ William P. Earley
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                              CERTIFICATE OF SERVICE

        I hereby certify that on this the 28th day of January, 2020, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic filing to the following ECF registrants: Amanda Green and Charles
Brown, Assistant United States Attorneys.


                                     s/ William P. Earley
                                     WILLIAM P. EARLEY




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